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10
11                             UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,               ) Case No. CR-18-00258-EJD
15                                           )
            Plaintiff,                       ) DECLARATION OF WILLIAM B. EVANS
16                                           )
       v.                                    )
17                                           ) Hon. Edward J. Davila
     ELIZABETH HOLMES,                       )
18                                           )
                                             )
19          Defendant.                       )
                                             )
20                                           )

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     DECLARATION OF WILLIAM B. EVANS
     CR-18-00258 EJD
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 1                                 DECLARATION OF WILLIAM B. EVANS

 2 I, William B. Evans, declare as follows:

 3          1.       I am the partner of Elizabeth Holmes. I rent a home on a property in

 4 California, where I reside with Elizabeth and our son. The property has a private driveway with several

 5 roads that provide access to seven homes on the same property, including the one I rent.

 6          2.       On Monday August 8, 2022, at approximately 6:05pm, I was in the living room of the

 7 home, with a view of the front door, which is surrounded on both sides by large windows. Elizabeth and

 8 a friend were in another part of the home bathing our son. I noticed a man approaching our door and

 9 went to answer it.

10          3.       The visitor identified himself as Adam Rosendorff. Although I did not immediately

11 recognize him, I recognized him after he introduced himself to me because I was in the courtroom

12 during his trial testimony. As described in Exhibit A, Dr. Rosendorff asked to speak with Elizabeth and

13 made various other statements. I asked him to leave. When I noticed him attempting to leave the

14 property in the wrong direction, I stopped him to correct his course.

15          4.       I had two conversations with Dr. Rosendorff. The first was outside my front door when

16 Dr. Rosendorff first approached. The second was when I stopped him to point him in the direction of

17 the exit. That second conversation took place at the top of my driveway, with Dr. Rosendorff in his car

18 and me outside of the car on the driver’s side. The substance of both conversations is captured to the

19 best of my recollection in Exhibit A.

20          5.       My main focus during both conversations was to ensure Dr. Rosendorff quickly and

21 safely left the property without interacting with Elizabeth and to do so in a courteous and respectful

22 manner.       For this reason, I did not follow up on many of Dr. Rosendorff’s statements.

23          6.       Shortly after he left, I memorialized the conversations I had with Dr. Rosendorff in an

24 email that I sent to Elizabeth’s counsel around 8:08pm. A true and correct copy of that email is attached

25 as Exhibit A to this declaration.

26          7.       Exhibit A contains my recollections of what Dr. Rosendorff told me but is not a word-

27 for-word description of my encounter with Dr. Rosendorff. For example, Dr. Rosendorff repeated many

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     DECLARATION OF WILLIAM B. EVANS
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 1 of the statements in Exhibit A throughout both conversations, but I did not separately memorialize each

 2 instance of the statements in my email.

 3         I declare under penalty of perjury under the laws of the United States that the foregoing is true

 4 and correct to the best of my knowledge.

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 6         Executed this ___ day of August, 2022 in               CA.

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                                                         WILLIAM B. EVANS
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     DECLARATION OF WILLIAM B. EVANS
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